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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                     Docket No. 1:18-cv-11499-MLW
 ROBENSON JEAN-PIERRE AND JEAN
 METELUS, on behalf of themselves and all            COLLECTIVE AND CLASS ACTION
 others similarly situated,
                                                     NOTICE OF FILING CONSENTS TO
                         Plaintiffs,                 JOIN COLLECTIVE ACTION

 v.

 J&L CABLE TV SERVICES, INC.,

                         Defendant.


             NOTICE OF FILING CONSENTS TO JOIN COLLECTIVE ACTION

Plaintiffs Robenson Jean-Pierre and Jean Metelus, individually and on behalf of all persons

similarly situated, hereby files the following Opt-In Consent Forms, submitted herewith as Exhibit

1, pursuant to the Fair Labor Standards, Act, 29 U.S.C. §§ 201, et seq. CONSENTS TO JOIN

COLLECTIVE ACTION:

      140.       Keith Kitchens

      141.       Felix Martinez

      142.       Vladimir Pierre

      143.       Ryan Frizzell

      144.       Nathaniel Waring

      145.       Guyfenley Sylvestre

      146.       Nathaniel Pozzi

      147.       Beau Bergeron

      148.       Remus Thelusmond
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149.       Andres Perez

150.       Kelso Francois

151.       Robert Joyner

152.       Manuel Roman

153.       Michael Campbell

154.       Kernst Menard

155.       Kirth Petgrave

156.       Kevin V.B. Dos Santos

157.       Mark Waldrip

158.       Noe Pouyes

159.       Maronne Vilsaint

160.       Eric Anderson

161.       Prince McPherson

162.       John Fontes

163.       Luis Cabrera

164.       Kevin Tambouris

165.       Jason Lindahl

166.       Harold Ryan

167.       Ismael Vaquiz

168.       Paul Nunnally

169.       Jose Urbieta

170.       Troy Adams




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Dated: January 17, 2020                   Respectfully submitted,

                                          /s/ Shoshana Savett
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                                          Shoshana Savett
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                                          Attorneys for Plaintiffs, the Collective and
                                          Putative Class




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                               CERTIFICATE OF SERVICE

       I, Shoshana Savett, hereby certify that on January 17, 2020, I filed the foregoing via the
Court’s CM/ECF system, which will automatically send a notice of filing to counsel of record.



                                                    /s/ Shoshana Savett
                                                    Shoshana Savett




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